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                               UNITED STATES DISTRJCT COURT
                               SO U TH ERN DISTRICT OF FLOW D A
                               CA SE N O .16-24687-C1V -W ILLlAM S

   ED GA RD O LEBRON ,

                 Plaintiff,
   VS.

   ROYAL CARIBBEAN CRUISES,LTD.,

                 D efendant.


                  O R D ER D EN Y IN G M O TIO N FO R R EC O N SIDE M TIO N

         THIS M ATTER cam ebeforetheCourton PlaintiffsM otion forReconsideration ofthe

   Court'sRulingsonPriorIncidentsgDE 281jandDefendant'sresponse(DE 2842.On September
   28,2018,the Courtheard argtlm ents ofcounsel. Forthe reasons stated on Septem ber28,2018,it

   IS

          ORD ERED thatPlaintiff s M otion forReconsideration ofthe Court'sRulings on Prior

   Incidents(DE 2811isDENIED.
         DONEAND ORDERED in M iam i,Florida,this              %
                                                              O ay ofSeptem ber,2018.
                                                         œr




                                             PA TRICIA A .SEITZ
                                             UN ITED STA TES DISTRICT JU D GE
   cc:   A llcounselofrecord
